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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                                 AT LOUISVILLE


  JEFFREY DEWAYNE CLARK
  GARR KEITH HARDIN

                       PLAINTIFFS

  V.                                       CIVIL NO. 3:17-CV-00419-DJH-CHL

  LOUISVILLE JEFFERSON COUNTY
  METRO GOVERNMENT, ET AL. ,

                       DEFENDANTS.

       UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND TO
                  DEFENDANTS’ MOTION TO STRIKE

          Plaintiffs Jeffrey Clark, by and through his attorneys, Loevy & Loevy, and

  Garr Keith Hardin, by and through his attorneys Neufeld, Scheck, &. Brustin,

  respectfully move this Court for a two-week extension of time to respond to

  Defendants’ Motion to Strike (Dckt. No. 239). In support, Plaintiffs state as follows:

       1. On April 11, 2022, Defendants filed a Combined Motion to Strike Plaintiffs’

          Untimely Disclosures. Dckt. No. 239.

       2. Under Local Rule 7.1, Plaintiffs’ response is due Monday, May 2, 2022.

       3. Plaintiffs seek a 2-week extension, until May 16, 2022, to file their response.

       4. Counsel for Plaintiff Clark had a Sixth Circuit appellate brief due on April

          22, 2022, in William Virgil v. City of Newport, et al., No. 21-5674. Counsel is

          also preparing for a Sixth Circuit oral argument on May 5, 2022, in Johnetta
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        Carr v. Louisville-Jefferson Cnty., et al., No. 21-5736. As a result, counsel

        seeks a reasonable extension to respond to Defendants’ motion.

     5. Defendants do not oppose Plaintiffs’ request for a two-week extension.

                                    CONCLUSION

        Plaintiffs’ respectfully seek a two-week extension until May 16, 2022, to

  respond to Defendants’ Motion to Strike (Dckt. No. 239).

                                          Respectfully Submitted,


                                          /s/ Elliot Slosar

                                          Arthur Loevy
                                          Jon Loevy
                                          Michael Kanovitz
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                           CERTIFICATE OF SERVICE

        The undersigned, an attorney, certifies that he served the foregoing document
  upon all parties of record via the CM/ECF system on May 2, 2022.


                                                     s/Elliot Slosar
